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                         UNITED STATES BANKRUPTCY COURT
                                     FOR THE
                          WESTERN DISTRICT OF KENTUCKY

      IN RE:                                              )
                                                          )
      HARDIN, FREEMAN ANDREW                              )       CASE NO. 15-33081
            Debtor                                        )       Chapter 7
      ____________________________________                )


      WM. STEPHEN REISZ, TRUSTEE                          )
      for the Bankruptcy Estate of                        )
      Freeman Andrew Hardin                               )
                    Plaintiff                             )
                                                          )
      vs.                                                 )       A.P. No. ________
                                                          )
      THE OAK REVOCABLE TRUST                             )
                Defendant                                 )

                            COMPLAINT TO AVOID AND
                         RECOVER FRAUDULENT TRANSFERS

               Wm. Stephen Reisz in his capacity as Chapter 7 Trustee for the bankruptcy
      estate of Freeman Andrew Hardin (“Trustee” or “Plaintiff”), by counsel, brings this
      Complaint under the below referenced sections of Chapter 5 of Title 11 of the
      United States Code (the “Bankruptcy Code”) and KRS Chapters 378 and 378A to
      avoid and recover fraudulent transfers made by Freeman Andrew Hardin (“Debtor”
      or “Hardin”) to or for the benefit of The Oak Revocable Trust (“Oak” or
      “Defendant”) and for a declaration that the property is property of the bankruptcy
      estate of Freeman Hardin.

                                      INTRODUCTION

            1.        This is an adversary proceeding filed under Bankruptcy Code
      sections 544, 547, 548, 549 and 550; Bankruptcy Rule 7001(1); and KRS 378 and
      378A to avoid and recover fraudulent transfers made by Debtor to or for the benefit

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      of Oak.

                                       THE PARTIES

             2.      The Plaintiff is the duly appointed, qualified and acting trustee of
      the bankruptcy estate of the Freeman Andrew Hardin (the bankruptcy estate of
      Freeman Andrew Hardin is sometimes referred to herein as the “Estate”).
             3.      Defendant, The Oak Revocable Trust (“Oak”), is a trust created by
      Debtor prior to his filing bankruptcy to hide and shelter property owned by him.
      Oak is an insider within the meaning of the Bankruptcy Code.




                               JURISDICTION AND VENUE

             4.      The Court has jurisdiction of this adversary proceeding under 28
      U.S.C. §§ 157, 1334 and Rule 83.12(a)(3) of the Joint Local Rules for the United
      States District Courts for the Eastern and Western Districts of Kentucky.
             5.      This is a core proceeding under 28 U.S.C. 157(b)(2)(A), (E) and (F).
             6.      Venue in this Court is proper under 28 U.S.C. 1409(a), as this
      proceeding arises in and relates to the Debtor’s Chapter 7 case pending in this
      District.



                                      RELEVANT FACTS

             7.      On or about May 15, 2015, Debtor created Oak, and transferred real
      property at 2143 W. Hill St., Louisville, KY to Oak. The legal description of the
      real property transferred is:
                  Beginning on the north side of Hill Street, 106 feet East of
                  23rd Street as measured along the North side of Hill
                  Street, running thence Eastwardly along the North side of


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                    Hill Street 30 feet, and extending back Northwardly of
                    that width throughout 135 feet to a 15 foot alley.
                    Being the same property acquired by The Oak Revocable
                    Trust by Quitclaim Deed dated May 8th, 2015 of record in
                    Deed Book 10403, Page 451 in the Office of the Jefferson
                    County Clerk.
                    Being the same property acquired by Debtor by deed
                    dated May 28, 2008 of record in Deed Book 9249, Page
                    87 in the Office of the Jefferson County Clerk.

             8.       When Debtor made the real property transfer to Oak described in
      paragraph 7 above, he was insolvent.
             9.       The real property transfer from Debtor to Oak described in
      paragraph 7 above was made with the actual intent to hinder, delay, or defraud an
      entity to which the debtor was indebted.
             10.      Debtor received less than a reasonably equivalent in exchange for
      the transfer made described in paragraph 7 above.


       COUNT I: AVOIDANCE OF INTENTIONAL OR CONSTRUCTIVELY
         FRAUDULENT TRANSFERS UNDER 11 U.S.C. §§ 548 AND 550 

             11.      Plaintiff repeats and realleges the allegations in the preceding
      paragraphs.
             12.      There are creditors of Debtor who have allowable claims against
      him which claims existed at the time of the transfer identified in paragraph 7.
             13.      The transfer identified in paragraph 7 above was made to Defendant
      either as an initial transferee, or as immediate transferee of the initial transferee, by
      Debtor with the actual intent to hinder, delay or defraud entities to which the Debtor
      was indebted and became indebted on or after the date of the transfers.
             14.      Debtor received less than reasonably equivalent value in exchange
      for the transfer of the Debtor’s property to the Defendant identified in paragraph 7
      above.
             15.      The Debtor was insolvent on the date of the transfer identified in

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      paragraph 7 above to the Defendant or became insolvent as a result of making the
      transfer to the Defendant.
                16.    The Plaintiff is entitled to avoid the transfers of the Debtor’s
      property to the Defendants under Bankruptcy Code Section 548(a)(1)(A) and (B).


                COUNT II: AVOIDANCE OF FRAUDULENT TRANSFERS
                   UNDER 11 U.S.C. §§ 544 AND 550 AND KRS 378A

                17.    Plaintiff repeats and realleges the allegations in the preceding
      paragraphs.
                18.    The transfer identified in paragraph 7 above was made to Defendant
      either as an initial transferee, or as immediate transferee of the initial transferee, by
      Debtor with the actual intent to hinder, delay or defraud entities to which the Debtor
      was indebted and became indebted on or after the date of the transfers.
                19.    Debtor received less than reasonably equivalent value in exchange
      for the transfer of Debtor’s property to the Defendants identified in paragraph 7
      above.
                20.    The Debtor was insolvent on the date of the transfer identified in
      paragraph 7 to the Defendant or became insolvent as a result of making the transfers
      to the Defendant.
                21.    The Plaintiff may avoid the transfers of the Debtor’s property to the
      Defendants under Bankruptcy Code Section 544, 550 and KRS 378A.040 and .050.

                      COUNT III: DECLARATION THAT PROPERTY
                       BELONGS TO THE BANKRUPTCY ESTATE

                22.    Plaintiff repeats and realleges the allegations in the preceding
      paragraphs.
                23.    The transfer identified in paragragh 7 above is a sham transaction
      intended to shelter title of the property subject to the transfer.
                24.    The property identified in paragraph 7 is property of the bankruptcy
      estate.
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            WHEREFORE, Plaintiff demands judgment against Defendant, The Oak
      Revocable Trust:
         1. Which avoids the transfer of real property at 2143 W. Hill St., Louisville,
            KY., identified in paragraph 7 above to Oak is avoided.
         2. Which declares that the real property at 2143 W. Hill St., Louisville, KY,
            described in paragraph 7 above belongs to the bankruptcy estate of Freeman
            Harding.

                                                 Respectfully submitted,

                                                   /s/ Wm. Stephen Reisz
                                                 Wm. Stephen Reisz
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